                Case 2:20-cr-00092-JCC Document 528 Filed 07/16/21 Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR20-0092-JCC
10                              Plaintiff,                    ORDER
11          v.

12   ALAN GOMEZ-MARENTES, et al.,

13                              Defendants.
14

15          This matter comes before the Court on the Government’s unopposed motion for entry of
16   a protective order restraining certain forfeitable property (Dkt. No. 525). The United States seeks
17   to restrain the following property:
18          a. $1,500 of $9,245 in United States currency seized on July 28, 2020 from the
               residence of Defendant Ruth Melisa Gomez-Marentes located in Kent, Washington.
19
            The Court, having reviewed the papers and pleadings filed in this matter, including the
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     Government’s motion and the supporting declaration of Drug Enforcement Administration Task
21
     Force Officer (“TFO”) Luke A. Brandeberry, hereby FINDS entry of a protective order
22
     restraining the above-identified property (hereafter, the “Subject Currency”) is appropriate
23
     because:
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            •    The United States gave notice of its intent to pursue forfeiture of the Subject
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                 Currency in the Second Superseding Indictment (Dkt. No. 378) and Forfeiture Bill of
26
                 Particulars (Dkt. No. 520);


     CR20-0092-JCC
     PAGE - 1
                Case 2:20-cr-00092-JCC Document 528 Filed 07/16/21 Page 2 of 2




            •    Based on the facts set forth in TFO Brandberry’s declaration, there is probable cause
 1
                 to believe the Subject Currency is subject to forfeiture in this case; and
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            •    To ensure the Subject Currency remains available for forfeiture, its continued
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                 restraint, pursuant to 21 U.S.C. § 853(e)(1), is appropriate.
 4
     NOW, THEREFORE, THE COURT ORDERS:
 5
            1.       The Government’s motion for a protective order restraining the Subject Currency
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     pending the conclusion of this case (Dkt. No. 525) is GRANTED; and
 7
            2.       The Subject Currency shall remain in the custody of the United States and/or its
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     authorized agents or representatives, pending the conclusion of criminal forfeiture proceedings
 9
     and/or further order of this Court.
10
            DATED this 16th day of July 2021.
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                                                            A
                                                            John C. Coughenour
                                                            UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0092-JCC
     PAGE - 2
